7/28/2020                                                              Case.net: 20BU-CV02192 - Docket Entries




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                                 20BU-CV02192 - MAKESHIA STONE V WAL-MART (E-CASE)


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  07/16/2020           Notice of Service
                       SUMMONS FOR PERSONAL SERVICE OUTSIDE THE STATE OF MISSOURI RETURNED SERVED
                         Filed By: JAY ALLISON
                         On Behalf Of: MAKESHIA STONE

  07/08/2020           Agent Served
                       Document ID - 20-SMOS-33; Served To - WALMART; Server - ; Served Date - 08-JUL-20; Served Time
                       - 13:37:00; Service Type - Special Process Server; Reason Description - Served; Service Text - PAT
                       FLAKE - WALMART LEGAL

  06/25/2020           Summ Issd- Circ Pers Serv O/S
                       Document ID: 20-SMOS-33, for WALMART. - SUMMONS ISSUED
                       Trial Setting Scheduled
                           Scheduled For: 09/25/2020; 8:30 AM ; DANIEL F KELLOGG; Buchanan
                       Judge Assigned
                       Filing Info Sheet eFiling
                           Filed By: JAY ALLISON
                       Summ Req-Circ Pers Serv O/S
                       REQUEST FOR OUT OF STATE SUMMONS.
                         Filed By: JAY ALLISON
                         On Behalf Of: MAKESHIA STONE
                       Confidential Address Filed
                       CONFIDENTIAL CASE INFORMATION SHEET.
                         Filed By: JAY ALLISON
                       Pet Filed in Circuit Ct
                       PETITION FOR DAMAGES.
                         Filed By: JAY ALLISON
 Case.net Version 5.14.0.17                                            Return to Top of Page                                       Released 11/25/2019




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https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                EXHIBIT A                   1/1
              IN THE 5TH JUDICIAL CIRCUIT, BUCHANAN COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 20BU-CV02192
 DANIEL F KELLOGG
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 MAKESHIA STONE                                              JAY ALLISON
                                                             TIEMAN, SPENCER & HICKS
                                                             702 FELIX
                                                       vs.   SAINT JOSEPH, MO 64501
 Defendant/Respondent:                                       Court Address:
 WAL-MART                                                    BUCHANAN CO COURTHOUSE
 Nature of Suit:                                             411 JULES ST
 CC Pers Injury-Vehicular                                    SAINT JOSEPH, MO 64501
                                                             STATUS REVIEW HEARING DATE: 9-25-20
                                                             @ 8:30AM, DIV 4                                       (Date File Stamp)
                           Summons for Personal Service Outside the State of Missouri
                                                        (Except Attachment Action)
  The State of Missouri to:    WAL-MART
                               Alias:
  SERVE REGISTERED AGENT
  702 SW 8TH ST
  BENTONVILLE, AR 72716
     COURT SEAL OF             You are summoned to appear before this court and to file your pleading to the petition, copy of
                               which is attached, and to serve a copy of your pleading upon the attorney for the
                               plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                               you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                               taken against you for the relief demanded in this action.
                               ___________________________________
                                    Thursday, June 25, 2020                    _______________________________________________
                                                                                       /s/K. DOBOSZ, Deputy Clerk
   BUCHANAN COUNTY                                  Date                                            Clerk
                               Further Information:
                                                Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is __________________________________ of ______________________ County, ________________ (state).
     3. I have served the above summons by: (check one)
                delivering a copy of the summons and a copy of the petition to the defendant/respondent.
                leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with _________________________________, a person of the defendant’s/respondent’s family
                over the age of 15 years who permanently resides with the defendant/respondent.
                (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                __________________________________________ (name) ___________________________________________ (title).
                 other: ___________________________________________________________________________________________.
     Served at ______________________________________________________________________________________ (address)
     in _____________________________County, _______________ (state), on _______________ (date) at ____________ (time).

     _________________________________________________                       ______________________________________________________
                   Printed Name of Sheriff or Server                                         Signature of Sheriff or Server
                              Subscribed and sworn to before me this ___________ (day) ______________ (month) _________ (year).
                                I am: (check one)   the clerk of the court of which affiant is an officer.
                                                    the judge of the court of which affiant is an officer.
                                                    authorized to administer oaths in the state in which the affiant served the above
          (Seal)
                                                     summons. (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                         __________________________________________________________
                                                                                             Signature and Title
    Service Fees
    Summons        $___________________
    Non Est        $___________________
    Mileage        $___________________ (_______________miles @ $ _______ per mile)
    Total          $___________________
OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 20-SMOS-33
                     Case 5:20-cv-06108-LMC Document 1-1 1Filed
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                                                                 07/28/20 Page 2Rules
                                                                                 of 1154.06, 54.07, 54.14, 54.20;
                                                                                        506.500, 506.510 RSMo
                           See the following page for directions to officer making return on service of summons.




                            Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
     defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
     prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
     defendant’s/respondent’s refusal to receive the same.

     Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
     leaving a copy of the summons and motion at the individual’s dwelling house or usual place of abode with some
     person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
     a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
     process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
     a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
     Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
     the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
     business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
     registered agent or to any other agent authorized by appointment or required by law to receive service of process;
     (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
     corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory of the United States. If served in a territory, substitute the word
     “territory” for the word “state.”

     The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant’s authority to serve process in civil actions
     within the state or territory where service is made.

     Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




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                                                                                of 1154.06, 54.07, 54.14, 54.20;
                                                                                       506.500, 506.510 RSMo
                                                                                                 Electronically Filed - Buchanan - June 25, 2020 - 02:17 PM
                                                                          20BU-CV02192

           IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI


MAKESHIA STONE                                      )
2410 El Tivoli                                      )
St. Joseph, Missouri 64507                          )
                                Plaintiff,          ) Case No.:
vs.                                                 )
                                                    )
WAL-MART                                            )
Serve at:                                           )
702 SW 8th Street                                   )
Bentonville, Arkansas 72716                         )
                           Defendant.               )

                        REQUEST FOR OUT OF STATE SUMMONS

       COMES NOW Plaintiff, Makeshia Stone, by and through her attorney, Jay M. Allison, and
hereby requests the court to issue an out of state summons to be served upon Defendant, who is
out of the State of Missouri:
Serve Registered Agent at
Wal-Mart
702 SW 8th St.
Bentonville, AR 72716


                                             Respectfully submitted,
                                             TIEMAN, SPENCER & HICKS, LLC

                                                    /s/ Jay M. Allison
                                             By: ______________________________
                                                Jay M. Allison             MO #49606
                                                702 Felix
                                                St. Joseph, MO 64501
                                                Telephone: 816.279.3000
                                                Facsimile: 816.279.3066
                                                Email: jay.allison@tshhlaw.com
                                                ATTORNEYS FOR PLAINTIFF




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